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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 CHRISTOPHER JUSTIN EADS,                      )
                                               )
                                Plaintiff,     )
                                               )
                v.                             )       Cause No. 1:18-cv-00638-RLY-TAB
                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
                                Defendant.     )

                     REPLY BRIEF IN SUPPORT OF THE DEFENDANT’S
                      MOTION TO DISMISS OR IN THE ALTERNATIVE
                          MOTION FOR SUMMARY JUDGMENT

        There are no disputed facts to the United States of America’s dispositive motion. In his

 response, the Plaintiff Christopher Justin Eads admits that he did not exhaust his administrative

 remedies under the Federal Tort Claims Act (“FTCA”) before filing suit in Federal District

 Court. At best, he argues that it was a mistake to file the Claim for Damage, Injury, or Death,

 Standard Form 95 (“SF 95 Form”) in Federal District Court, but since he has paid the filing fee,

 the Court should stay the instant action until the Federal Bureau of Investigation (“FBI”) issues

 its decision concerning his administrative tort claim. However, to do so would circumvent the

 underlying rationale for exhaustion requirements and would be contrary to the statutes and

 Supreme Court precedent. See 28 U.S.C § 2675(a); McNeil v. United States, 508 U.S. 106, 113

 (1993) (holding that dismissal of an FTCA claim was warranted even where the plaintiff had

 submitted a claim to the agency prior to filing suit and received notice of rejection of his claim

 before any substantial progress had taken place in the litigation). Eads’ rationale for the Court to

 deviate from this well-established doctrine should be rejected. Accordingly, judgment is proper
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 for the United States as a matter of law pursuant to Federal Rule of Civil Procedure Rule

 12(b)(6) or Rule 56.

                                              Argument

 A.     The Undisputed Material Facts Demonstrate as a Matter of Law that Summary
        Judgment is Proper for the United States

        In response to the United States’ dispositive motion, Eads filed a response brief (“Eads

Response”). (Docket No. 24.) However, Eads does not call into question any of the United States’

material facts, nor does he present any disputed material facts that would prevent dismissal or

summary judgment. Instead, the following facts are undisputed and support the dismissal of Eads’

complaint.

        1.      In November 2011, Eads was under investigation concerning child pornography

 violations, with which he was ultimately charged on December 21, 2011. See United States v.

 Christopher Eads, Cause No. 1:11-cr-0239-TWP-KPF (“Criminal Case”) at Docket No. 12.

        2.      During this investigation, in November 15, 2011, law enforcement seized certain

 personal items which Eads alleges included a particular cell phone, with a battery, protective

 case, and a “micro SD Card.” Docket No. 2 at p. 2; Criminal Case at Docket No. 194.

        3.      On March 2, 2018, Eads the SF 95 Form, along with a “Plaintiff’s Memorandum

 in Support of Federal Tort Claim,” to the Federal District Court, alleging that the United States

 was negligent in protecting Eads’ personal property consisting of a cell phone, protective case

 and a “micro SD Card.” Docket No. 2 at p. 4.

        4.      In addition to filing these documents with the Court, Eads provided a copy of the

 identical documents to the United States Attorney’s Office, who forwarded them to the FBI for

 action. Docket No. 19-1 at ¶ 5. These documents were not received by the FBI until on or about

 March 6, 2018. Id.


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        5.      The receipt of the SF 95, Claim for Damage, Injury, or Death, by the FBI,

 initiated the administrative claim process concerning Eads’ claims pursuant to the FTCA. Id.

 The administrative claim remains pending and the FBI has not issued a final adjudication of the

 claim, either in the form of a denial or approval. Docket No. 19-1 at ¶ 6.

 B.     Eads Admits He Did Not Exhaust His Administrative Remedies Before Filing His
        Complaint

        An FTCA plaintiff must first present his claim to the appropriate federal agency and

cannot file suit in federal district court until the agency has made a final disposition of the claim.

28 U.S.C. § 2675(a); see McNeil, 508 U.S. at 111-13; Smoke Shop, LLC v. United States, 761

F.3d 779, 786 (7th Cir. 2014). Once a proper administrative claim is presented to an agency, that

agency has six months in which to make final disposition of the claim before the claimant has

any right to file a complaint premised upon the claim. If a claimant files a complaint in federal

court without allowing the six-month administrative period to expire, the court does not have

jurisdiction over the complaint. See e.g., McNeil, 508 U.S. at 111. The requirement in § 2675(a)

that an administrative claim be filed as a prerequisite to filing a complaint under the FTCA in

federal court is a valid condition under which a complaint may be maintained under the statute.

Kanar v. United States, 118 F.3d 537, 528 (7th Cir. 1997). The exhaustion requirement has been

strictly applied, meaning that it is not enough for a plaintiff to file an administrative claim soon

after beginning her lawsuit. McNeil, 508 U.S. at 111–12. If a plaintiff fails to exhaust

administrative remedies before he brings suit, the court must dismiss his claim. McNeil, 508

U.S. at 113; Palay v. United States, 349 F.3d 418, 425 (7th Cir. 2003).

        Eads admits that he did not file an FTCA claim with the FBI before filing his complaint

in this case. And he admits that he cannot bring his action in Federal District Court until the FBI




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has been allowed six months to consider his claim. Docket No. 24 at p. 1, ¶ 1. The facts and law

are undisputed and Eads’ complaint should be dismissed without prejudice.

 C.     Eads’ Arguments That He Should be Allowed to Continue His Lawsuit Are
        Inconsistent With Case Law and the Rationale Underlying the Exhaustion Doctrine

        In his response, Eads argues that he never intended the SF 95, and supporting documents

to be construed as “an actual ‘law suite’ [sic].” See Docket No. 24 at p. 1-2, ¶ 1. However,

because the Court construed these documents as a complaint, and required that he pay the Court

filing fee, Eads contends that the Court should stay his case until the required six months have

expired, and then allow the case to proceed. See Docket No. 24 at p. 1-2, ¶ 1; p. 3 at ¶ 2. These

arguments should be rejected as inconsistent with case law and the rationale behind the FTCA’s

jurisdictional prerequisite for filing suit.

        First, it should be noted that Eads’ contention that he never intended his SF 95 and

supporting documents to be construed as a complaint is belied by his own description of these

filings to the Court. For instance, in his filing at Docket No. 11, he stated:

        In addition to Eads’ initial [sic] filed complaint (Doc. 1 and 2), Eads would also
        like to preserve the records further by informing the Court that he has used due-
        diligence and exhausted every good-faith effort to resolve this issue with the
        United States and the district court prior to his filing the above civil action.

 Plaintiff’s Motion to Supplement Additional Documentation in Support of Plaintiff’s Good Faith

 Efforts to Resolve This Action With the United States (emphasis added), Docket No. 11 at p. 1.

 Nor did he ever seek to clarify his filings during the litigation of the case until now. See Docket

 generally.

        Beyond this, Eads has provided no reason for this Court to deviate from the well-

 established doctrine of exhaustion. The Supreme Court has noted that the purpose of the

 FTCA’s exhaustion requirement is to facilitate the administrative evaluation of tort claims by the


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 agency whose activity gave rise to the claim and permit settlement of meritorious claims more

 quickly and without litigation. McNeil, 508 U.S. at 112, n. 7; see also Kanar, 118 F.3d at 531.

 “The most natural reading of the statute indicates that Congress intended to require complete

 exhaustion of Executive remedies before invocation of the judicial process.” McNeil, 508 U.S.

 at 112; see also Warrum v. United States, 427 F.3d 1048, 1050 (7th Cir. 2005) (citing McNeil,

 508 U.S. at 112 n.7 (citing S. Rep. No. 89-1327, at 3 (1966), as reprinted in U.S.C.C.A.N. 2515,

 2517)). Accordingly, if a plaintiff fails to exhaust administrative remedies before he brings suit,

 the court must dismiss his claim. McNeil, 508 U.S. at 113; Palay v. United States, 349 F.3d 418,

 425 (7th Cir. 2003).

        As such, courts are consistent that where an FTCA claimant fails to exhaust his

 administrative remedies prior to filing suit in Federal District Court, the case must be dismissed

 without prejudice, even if the administrative claim is denied before the dismissal. See, e.g.,

 Duplan v. Harper, 188 F.2d 1195, 1199 (10th Cir. 1999) (premature complaint cannot be cured

 through later amendment alleging the denial of the administrative claim; instead plaintiff must

 file a new suit); Wang v. United States, 2015 WL 7283134, *3 (E.D. Wisc. 2015) (dismissing

 pro se case for failure to exhaust even though six months had passed since the administrative

 claim had been filed); Edwards v. D.C., 616 F. Supp. 2d 112, 117 (D.D.C. 2009) (failure to

 exhaust administrative remedies cannot be cured by amending the complaint); Sparrow v. U.S.

 Postal Serv., 825 F. Supp. 252, 255 (E.D. Cal. 1993) (FTCA requires administrative claim be

 finalized at the time complaint is filed; plaintiff’s complaint cannot be cured through

 amendment).

        It is undisputed that Eads did not exhaust his administrative remedies before he filed his

 FTCA complaint because he filed the complaint before submitting an administrative claim to the


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 FBI. There is no reason to deviate from the well-established doctrine of exhaustion simply

 because Eads has paid a filing fee. To accept Eads’ reasoning would negate the exhaustion

 requirement as nearly all FTCA plaintiffs will have paid a fee to bring their suits, whether they

 exhausted their administration remedies or not. Eads did not exhaust his administrative remedies

 prior to filing this action, and his action must be dismissed as a matter of law.

                                               Conclusion

        Eads has failed to satisfy the requirement of the Federal Tort Claims Act to exhaust his

administrative remedies before filing his complaint with this Court. As a result, this Court must

dismiss the complaint pursuant to Rule 12(b)(6) or in the alternative Rule 56 of the Federal Rules

of Civil Procedure.

                                                       Respectfully submitted,

                                                       JOSH J. MINKLER
                                                       United States Attorney

                                                By:    s/ Debra G. Richards
                                                       Debra G. Richards
                                                       Assistant United States Attorney




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 27, 2018, a copy of the foregoing document was filed

 electronically. Service of this filing will be made on all ECF-registered counsel by operation of

 the court’s electronic filing system. Parties may access this filing through the court’s system.

                                                 and

        I further certify that on August 27, 2018, a copy of the foregoing document was mailed,

 by first-class U.S. Mail, postage prepaid and properly addressed to the following:

 Christopher Justin Eads
 10391-028
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                                                       s/ Debra G. Richards
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